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                  EXHIBIT C
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            UNITED STATES DISTRICT COURT                            1   APPEARANCES, Continued:
             NORTHERN DISTRICT OF OHIO                              2
                                                                          On behalf of Walmart, Inc.:
               EASTERN DIVISION                                     3
              ~~~~~~~~~~~~~~~~~~~~                                           Jones Day, by
       IN RE: NATIONAL PRESCRIPTION MDL No. 2804                    4        CHRISTOPHER LOVRIEN, ESQ.
       OPIATE LITIGATION                                                     555 South Flower Street
                      Case No.                                      5        Fiftieth Floor
                      17-md-2804                                             Los Angeles, California 90071
                                                                    6        (213) 243-2316
                                                                             cjlovrien@jonesday.com
                                Judge Dan Aaron                     7
                                Polster                             8     On behalf of Endo Pharmaceuticals, Inc.,
                                                                          Endo Health Solutions, Inc., Par
       This document relates to:                                    9     Pharmaceuticals, Inc. and Par
                                                                          Pharmaceutical Companies, Inc., via
                                                                   10     teleconference:
                                                                   11         Arnold & Porter Kaye Scholer, by
       The County of Cuyahoga, et al. v. Purdue Pharma                        NICOLE R. LEIBOW, ESQ.
       L.P., et al., Case No. 1:17-OP-45004 (N.D.                  12         250 West 55th Street
       Ohio)                                                                  New York, New York 10019-9710
                                                                   13         (212) 836-7838
                  ~~~~~~~~~~~~~~~~~~~~                                        nicole.leibow@arnoldporter.com
                                                                   14
                                                                   15     On behalf of Insys Therapeutics:
                                                                   16        Holland & Knight, LLP, by
                Videotaped Deposition of                                     JESSICA L. FARMER, ESQ.
                   DEBORAH FORKAS                                  17        800 17th Street Northwest
                                                                             Suite 1100
                   January 23, 2019                                18        Washington, D.C. 20006
                     10:03 a.m.                                              (202) 469-5222
                                                                   19        jessica.farmer@hklaw.com
                                                                   20             ~~~~~
                      Taken at:                                    21
                                                                        ALSO PRESENT:
                Napoli Shkolnik PLLC                               22
              55 Public Square, Suite 2100                                   Joe VanDetta, Legal Videographer
                Cleveland, Ohio 44113                              23
                                                                                  ~~~~~
                                                                   24
                Stephen J. DeBacco, RPR                            25


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  2
        On behalf of the Plaintiffs:                                2
  3
           Kelley & Ferraro, by                                     3      APPEARANCES............................... 2
  4        MATT McMONAGLE, ESQ.                                     4
           950 Main Avenue, Suite 1300
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           (216) 367-1979
  6        mmcmonagle@kelley-ferraro.com                            6
  7
        On behalf of Stark County, Ohio; and                        7      EXAMINATION OF DEBORAH FORKAS
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           NATALIE DEYNEKA, ESQ.                                    9      By Ms. Deyneka............................ 249
 10        28 Bridge Boulevard
           Mt. Pleasant, South Carolina 29464                      10      By Mr. Alexander.......................... 253
 11        (843) 216-9343
           ndeyneka@motleyrice.com
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        Corporation:                                               13
 14
           Reed Smith, LLP, by
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 15        ERIC L. ALEXANDER, ESQ.                                 15
           LINDSAY A. DEFRANCESCO, ESQ.
 16        1301 K Street Northwest, Suite 1000                     16      EXHIBIT CUSTODY
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 17        Washington, D.C., 20005                                 17      EXHIBITS RETAINED BY THE COURT REPORTER
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 21     teleconference:
                                                                   21
 22         Covington & Burling, LLP, by                           22
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 25             ~~~~~



                                                                                                             1 (Pages 1 to 4)
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  1   or other health care, and that that affects the    1   have places in SACWIS to document things. We
  2   burden on Children -- Children and Family          2   can document things in different ways. There's
  3   Services?                                          3   been more roles that have been promulgated to
  4       A. I would say yes.                            4   how we are supposed to document. We didn't
  5       Q. The next paragraph says, "Mental            5   have a lot of that at the time.
  6   illness and substance abuse are our biggest        6       Q. And that's changed over time?
  7   challenges. If a neglectful mother is a drug       7       A. That's changed over time.
  8   user, her children are usually sent to another     8       Q. So there's better documentation in
  9   family member or into foster care while she        9   general of which substances involved in a case,
 10   gets help."                                       10   were driving the need for Children and Family
 11           "When a mother can demonstrate that       11   Services now, than there was back in 2010?
 12   she has completed a treatment program and has     12       A. I would say yes. I mean, it's not
 13   her life together, you can then focus on          13   a perfect system though.
 14   reunification, along with several months of       14       Q. So one of the things that you get
 15   monitoring by our workers. Only if she is         15   when you have a change in how often drug of
 16   fully drug free and there are no instances of     16   choice is or how well drug of choice is tracked
 17   abuse or neglect can the case be closed."         17   is you can make it look like there's a new
 18           Did I read that right?                    18   problem with a drug that is just because
 19       A. Yes.                                       19   they're tracking it better, right?
 20       Q. The statement in here about                20       A. Right, correct.
 21   substance abuse and mothers who were drug         21       Q. And so when we look back at any of
 22   users, was -- was that focused on any             22   the historic data from SACWIS about drug trends
 23   particular substance or drug or all drugs and     23   or, you know, drugs being involved in a
 24   substances?                                       24   different Children and Family Services case, we
 25       A. I think it was in general.                 25   have to take into account that how they tracked

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  1       Q. And over this time, were you and            1   the drug of choice or substance of choice, may
  2   your department also tracking the --               2   have changed over time, right?
  3   essentially the burden in individual cases or      3       A. I don't know that as a fact, but it
  4   across your cases of the types of drugs that       4   may be true. It may not be. I don't know.
  5   people were abusing or the substance of abuse      5       Q. I mean, given your position as
  6   that was most prevalent?                           6   director of or assistant director of three
  7       A. I don't know if we at that time --          7   different Ohio counties over the time period
  8   during this time when this was written. I          8   when SACWIS has been in place, that's your
  9   don't know. I don't recall.                        9   experience, right?
 10       Q. What about overall when you were           10       A. I have some experience with that,
 11   director of Cuyahoga County Children and Family   11   but I don't know if that's true on all these
 12   Services? Were you looking at, essentially        12   cases.
 13   the -- which drugs of choice or substance of      13       Q. If you could just look through to
 14   abuse were most common?                           14   the next page, it's page 4, first full
 15       A. Well, we -- how we were tracking           15   paragraph says, "But we face terrific odds. In
 16   that, you were saying?                            16   2008, even before the recession hit, 42 percent
 17       Q. Yes.                                       17   of Cleveland children lived in poverty and 65
 18       A. Well, I don't know that we were --         18   percent were in single-parent families. Among
 19   were tracking it in a -- in a very good way.      19   50 American cities, only Detroit was worse.
 20       Q. Over your -- over your time in the         20   Now, the recession, state budget cuts, high
 21   field, has there been better tracking of things   21   unemployment, rising homelessness and poverty,
 22   like which drug or substance is driving a case    22   and a shortage of support services such as
 23   or a participant, a client, is actually           23   mental health care mean it's harder every day
 24   abusing?                                          24   for our agency alone to protect children."
 25       A. Well, now, it's better. I mean, we         25           Did I read that right?


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  1       A. -- did this?                                1       Q. -- Children and Family Services?
  2       Q. So somebody at the -- at Ohio ran           2       A. Yes.
  3   this report and generated this, and in response    3       Q. Okay. So if you could go to, then,
  4   to a request from Cuyahoga. Okay?                  4   the -- the second tab, which is, luckily,
  5       A. Really?                                     5   smaller paper, less fields, a little easier to
  6       Q. That's what we were told. So I'm            6   follow. It's --
  7   not going to belabor it, because this is not,      7       A. The second blue tab or the
  8   obviously, a document that was generated back      8   second -- just the second tab?
  9   when you were with Cuyahoga County.                9       Q. The second tab, so the first blue
 10       A. Thank you.                                 10   tab on the --
 11       Q. But if you look at the -- the dates        11       A. Okay.
 12   of the -- the cases in here, they start in 2006   12       Q. -- smaller paper.
 13   and go forward. Do you see that?                  13       A. Got it.
 14       A. I see that.                                14       Q. You got it?
 15       Q. And do you know when SACWIS first          15       A. I got it.
 16   started to be used?                               16       Q. So this report has year-by-year
 17       A. Oh, I don't remember.                      17   data on abandonment, count, percentage, and
 18       Q. And have you ever seen reports that        18   then it says, "Alcohol Abuse of child,"
 19   are in -- generally of this format from SACWIS?   19   "Alcohol Abuse of parent."
 20       A. Generally.                                 20           Do you see that?
 21       Q. And -- and to run a report from            21       A. I see it.
 22   SACWIS, you have to pick which fields to          22       Q. And then, in later ones, it talks
 23   include and which parameters, and you have to     23   about substance abuse, disability, desertion,
 24   define a search using, you know, Boolean          24   dependency. There are a bunch of these
 25   operators or some sort of specifics of            25   columns, according to what was run in an

                                          Page 230                                              Page 232
  1   programming, right?                                1   individual report.
  2       A. Yes.                                        2           Do you see that?
  3       Q. So whatever is in this report               3       A. Uh-huh.
  4   doesn't necessarily mean that's all of what is     4       Q. Did you have reports run like this
  5   in SACWIS, let alone the underlying case files     5   when you were --
  6   for any individual case referenced here,           6       A. No.
  7   correct?                                           7       Q. -- director?
  8       A. I don't know that. I assume.                8       A. No.
  9       Q. It may or may not be all?                   9       Q. Did you receive reports like this,
 10       A. Right, may or may not. I don't             10   even if you didn't ask for them?
 11   know.                                             11       A. No.
 12       Q. But there are more fields than             12       Q. Did the reports you had available
 13   these, what, eight fields or something, in        13   to you back then have the level of information
 14   SACWIS, aren't there?                             14   where you could get down to which particular
 15       A. Yeah, I believe there are. I'm not         15   drug it was that a parent might be abusing
 16   a SACWIS guru, to be honest with you.             16   or --
 17       Q. And if you go forward, keeping in          17       A. I don't believe so. I --
 18   mind that this goes back to 2006, and if you      18       Q. I mean, you -- you actually know
 19   were to flip through, you'd see that -- that      19   that, right? That you generally didn't have --
 20   this includes cases from the time period when     20       A. Yeah, we didn't have --
 21   you were the director, from '09 to early '11.     21       Q. -- specificity?
 22           You -- do you see that, that this         22       A. No. We didn't have specificity out
 23   involves cases from the time period when you      23   of SACWIS originally.
 24   were director of Cuyahoga County --               24       Q. Yeah. It would say "drug abuse" or
 25       A. Yes.                                       25   "alcohol abuse."


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  1       A. No.                                         1   and then there are categories related to drugs
  2       Q. It wouldn't say this person's a             2   like prenatal drug exposure, positive
  3   cocaine addict or a --                             3   toxicology screen at birth.
  4       A. Uh-huh.                                     4           Do you see those?
  5       Q. -- you know, PCP addict or                  5       A. I'm still working on it.
  6   whatever, right? Is that correct?                  6       Q. Okay.
  7       A. That's correct.                             7       A. Yeah, I see it.
  8       Q. So any kind of data that was added          8       Q. These specific -- this level of
  9   later to allow specificity on drug of choice or    9   detail relating to drug abuse or the way in
 10   the specific drug somebody was abusing that       10   which somebody was identifi- -- a case was
 11   covers a period of time of 2009 or 2010 would     11   identified as involving drugs --
 12   need to have been added later, correct?           12       A. Uh-huh.
 13       A. It seems so. I'm not an expert,            13       Q. -- that wasn't in SACWIS back in
 14   but I would think so.                             14   2009, 2010, and early 2011, was it?
 15       Q. From what you know, that                   15       A. I don't think so.
 16   information, that level of information was not    16       Q. Because one of the things that
 17   in the database --                                17   we've seen from a lot of the documents from
 18       A. Correct.                                   18   even a couple of years after you is people
 19       Q. -- on a realtime basis back when           19   saying, you know, we can't really drill down to
 20   you were a director --                            20   what drug is really driving this because SACWIS
 21       A. No.                                        21   just doesn't have that data.
 22       Q. -- correct?                                22       A. Uh-huh.
 23       A. Cor- -- correct.                           23       Q. Does that sound right --
 24       Q. So if you go through to Tab 3, you         24       A. When was this --
 25   see some of the things are highlighted in here,   25       Q. -- to you?

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  1   and I'll represent to you the highlighting was     1       A. It could be. When -- when -- may I
  2   in the original. We didn't add it. That's how      2   ask a question? When was this ra- -- ran?
  3   we got the document. And so it specifically        3   When was --
  4   mentions, like, barbiturates, three different      4       Q. Aug- --
  5   categories of barbiturates. It has                 5       A. -- this run?
  6   buprenorphine. It has codeine, multiple            6       Q. August of 2018.
  7   categories. It has methadone. It has opiate,       7       A. '18 it was run, okay.
  8   morphine. It has a bunch of different drugs        8       Q. Late August of 2018.
  9   that have been highlighted.                        9           So if you look, then, to the fourth
 10           Do you see that?                          10   tab, there's a report where there's a case ID,
 11       A. No, I don't see that. I'm sorry.           11   a person ID, an age, characteristic code,
 12   I'm having a hard time.                           12   characteristic description, and substance flag.
 13       Q. In Tab 3.                                  13           Do you see that? Those are the
 14       A. One --                                     14   column headings?
 15       Q. The first page looks like this,            15       A. Yes.
 16   ma'am.                                            16       Q. What's the difference between a
 17           MR. McMONAGLE: That's it.                 17   case ID and a person ID?
 18       Q. There.                                     18       A. I don't know. I have no idea. I
 19       A. Thank you, sir.                            19   didn't deal with their co- -- those codes --
 20       Q. So if you just flip through the            20       Q. Okay.
 21   highlighted parts that were in the original as    21       A. -- in SACWIS. So I just -- I don't
 22   we got it, a numbers of -- a number of names of   22   know. I have no idea.
 23   specific drugs or facts related to drugs are      23       Q. But this --
 24   highlighted in here, including, like I said,      24       A. I mean, all cases had person IDs.
 25   specific drugs like hydromorphone, morphine,      25   That's -- I do know that, but I don't know what


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  1   Whereupon, counsel was requested to give           1                 I do further certify that I am not
  2   instructions regarding the witness's review of     2        a relative, counsel or attorney for either
  3   the transcript pursuant to the Civil Rules.        3        party, or otherwise interested in the event of
  4                                                      4        this action.
  5               SIGNATURE:                             5                 IN WITNESS WHEREOF, I have hereunto
  6   Transcript review was requested pursuant to the    6        set my hand and affixed my seal of office at
  7   applicable Rules of Civil Procedure.               7        Cleveland, Ohio, on this 28th day of
  8                                                      8        January, 2019.
  9           TRANSCRIPT DELIVERY:                       9
 10   Counsel was requested to give instructions        10
 11   regarding delivery date of transcript.            11
 12                                                     12
 13                                                     13                    <%11472,Signature%>
 14                                                     14                    Stephen J. DeBacco, Notary Public
 15                                                     15                    within and for the State of Ohio
 16                                                     16
 17                                                     17        My commission expires September 30, 2022.
 18                                                     18
 19                                                     19
 20                                                     20
 21                                                     21
 22                                                     22
 23                                                     23
 24                                                     24
 25                                                     25

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  1           REPORTER'S CERTIFICATE                                        Veritext Legal Solutions
                                                                             1100 Superior Ave
  2   The State of Ohio, )                                                     Suite 1820
                                                                            Cleveland, Ohio 44114
  3                     SS:                                                  Phone: 216-523-1313
  4   County of Cuyahoga. )
                                                             January 28, 2019
  5
  6            I, Stephen J. DeBacco, a Notary               To: Mr. McMonagle
  7   Public within and for the State of Ohio, duly          Case Name: In Re: National Prescription Opiate Litigation v.
  8   commissioned and qualified, do hereby certify          Veritext Reference Number: 3202803
  9   that the within named witness, DEBORAH FORKAS,
                                                             Witness: Deborah Forkas Deposition Date: 1/23/2019
 10   was by me first duly sworn to testify the
 11   truth, the whole truth and nothing but the             Dear Sir/Madam:
 12   truth in the cause aforesaid; that the                 Enclosed please find a deposition transcript. Please have the witness
 13   testimony then given by the above-referenced
                                                             review the transcript and note any changes or corrections on the
 14   witness was by me reduced to stenotypy in the
 15   presence of said witness; afterwards                   included errata sheet, indicating the page, line number, change, and

 16   transcribed, and that the foregoing is a true          the reason for the change. Have the witness’ signature notarized and
 17   and correct transcription of the testimony so          forward the completed page(s) back to us at the Production address shown
 18   given by the above-referenced witness.
                                                             above, or email to production-midwest@veritext.com.
 19            I do further certify that this
 20   deposition was taken at the time and place in          If the errata is not returned within thirty days of your receipt of
                                                             this letter, the reading and signing will be deemed waived.
 21   the foregoing caption specified and was
 22   completed without adjournment.                         Sincerely,

 23                                                          Production Department
 24                                                          NO NOTARY REQUIRED IN CA
 25


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